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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK
                                                                                            5/14/2020
  AVALON HOLDINGS CORP.,

                         Plaintiff,                            No. 18-cv-7291 (VSB)

                          v.                                   (ECF Case)

  GUY GENTILE and
  MINTBROKER INTERNATIONAL, LTD.,

                          Defendants.
Related to:

  NEW CONCEPT ENERGY, INC.

                         Plaintiff,                            No. 18-cv-8896 (VSB)

                          v.                                   (ECF Case)

  GUY GENTILE and
  MINTBROKER INTERNATIONAL, LTD.,

                          Defendants.

                           JOINT STIPULATION
        AS TO CERTAIN FACTS FOR PURPOSES OF SUMMARY JUDGMENT
               Plaintiffs Avalon Holdings Corporation (“Avalon”) and New Concept Energy, Inc.

(“New Concept”), together with Defendants Guy Gentile (“Gentile”) and Mintbroker

International, Inc. (“Mintbroker”), hereby stipulate and agree as to the following facts:

       1.      Account #I1043365 was a proprietary trading account held by MintBroker at

Interactive Brokers (“Interactive”) and it served as the “Master Account” for two proprietary sub-

accounts: (i)Account #UL1043811; and (ii) Account #US1043812 (the “Trading Accounts”).

       2.      The “Activity Statements” produced by Interactive for each of the Trading

Accounts accurately reflect the Avalon (AWX) and New Concept (GBR) trades executed in those

Trading Accounts by Gentile, as the sole owner of MintBroker. (See #UL1043811 “Activity



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Statement” (filename: Annual Statements/MINT 2018 UL.pdf), AWX trades at pp.933 –1000;

GBR trades at pp.1150 –1202; see also #US1043812 “Activity Statement” (filename: Annual

Statements/MINT 2018 US.pdf), AWX trades at pp.203-206; GBR trades at pp. 431-433).

       3.      The trades reflected in the Activity Statements for the Trading Accounts include the

Avalon and New Concept trades reflected in the records produced by the Defendants at Bates

Numbers MINT-AWX000001-140 and MINT-GBR-000001-159.

       4.      Cash was credited or debited to the Trading Accounts, as applicable, in connection

with each AWX or GBR trade listed on the “Activity Statements,” in the amount of the “Proceeds”

indicated on the “Activity Statements” for each such trade.

               This Stipulation shall be treated as admissions of fact by Plaintiffs and Defendants

for the purpose of summary judgment.

Dated: New York, New York
       May 13, 2020

 ________________________________                 ___________________________________
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 and Mintbroker International, Ltd.
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                                                  Attorneys for Plaintiffs
                                                  Avalon Holdings Corp.
                                                  and New Concept Energy, Inc.
                                             SO ORDERED:

                                             5/14/2020
                                             _________________________________________
                                             Hon. Robert W. Lehrburger (U.S.M.J., S.D.N.Y.)

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